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Case 2:04-cr-20421-.]DB Document 100 Filed 06/09/05 Page 1 of 2‘§§|?§9€||?€6 §§
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
Western

 

UNITED STATES OF AMERICA,

Plaintiff,

vs. Case No. 2104cr20421-B
Latisha Denise Bums

 

ORDER REFUNDING CASH APPEARANCE BOND

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $500.00,

payable to Tabitha Young Bailey at 622 South Roselawn Dr., West Memphis, AR 72301 in full refund

of the cash appearance bond posted herein.

[

nit d States District Judge
_ F,,» J. D iel Breen
Date: <";" 716 b

Approved.
Robert R. Di Trolio, Clerk of Court

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 100 in
case 2:04-CR-20421 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

